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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

 (1) PATRICIA THOMPSON, as Personal              )
    Representative of the Estate of              )
    MARCONIA LYNN KESSEE,                        )
                                                 )
                                Plaintiff,       )        Case No. CIV-19-113-SLP
                                                 )
 vs.                                             )        JUDGE SCOTT L. PALK
                                                 )
 (1) NORMAN REGIONAL HOSPITAL                    )
    AUTHORITY d/b/a NORMAN                       )
    REGIONAL HOSPITAL,                           )
    a public trust, et al.,                      )
                                                 )
                                Defendants.      )

PLAINTIFF AND DEFENDANTS EMERGENCY SERVICES OF OKLAHOMA,
  P.C., STEVEN ROBERTS, D.O., AND JUSTIN HOLBROOK, APRN/CNP’S
                  JOINT NOTICE OF SETTLEMENT

       COME NOW the Plaintiff, Patricia Thompson, by and through her counsel, Chris

Hammons, Jason M. Hicks and Jonathan Ortwein; and Defendants Emergency Services of

Oklahoma, P.C. (“ESO”), Steven Roberts, D.O. (“Dr. Roberts”), and Justin Holbrook,

APRN/CNP (individually, “Mr. Holbrook” and collectively, “Defendants”), by and

through their counsel of record, Brandon C. Whitworth and David A. Russell of the law

firm of Rodolf & Todd, and hereby submit this Joint Notice of Settlement. In support

hereof, the Parties would show the Court as follows:

       1) Plaintiff and Defendants ESO, Dr. Roberts and Mr. Holbrook have reached a

          confidential agreement to settle all claims in this matter;

       2) Based on the confidential settlement agreement, the following pending Motions

          are now moot:
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             a) Defendants Emergency Services of Oklahoma, P.C., Steven Roberts,

                D.O., and Justin Holbrook, APRN/CNP’s Daubert Motion to Strike

                Certain Testimony From Plaintiff’s Expert Michael Jobin [Doc. No. 246];

             b) Defendants Emergency Services of Oklahoma, P.C., Steven Roberts,

                D.O., and Justin Holbrook, APRN/CNP’s Motion for Partial Summary

                Judgment On Plaintiff’s Punitive Damages Claim [Doc. No. 244];

             c) Defendant Steven M. Roberts, D.O.’s Motion for Summary Judgment

                [Doc. No. 241];

             d) Defendant Emergency Services of Oklahoma, P.C.’s Motion for Partial

                Summary Judgment on Plaintiff’s Negligent Hiring, Training, and

                Supervision Claim and Vicarious Liability Claim for the Actions of

                Steven Roberts, D.O.[Doc No. 242];

             e) Defendants Emergency Services of Oklahoma, P.C., Justin Holbrook,

                APRN, CNP, and Steven Roberts, D.O.’s Motion to Bifurcate and Brief

                In Support [Doc. No. 254].

      WHEREFORE, premises considered, Plaintiff Patricia Thompson and Defendants

Emergency Services of Oklahoma, PC, Steven Roberts, D.O, and Justin Holbrook,

APRN/CNP hereby submit their Joint Notice of Settlement and respectfully request this

Court enter an Order approving the same.




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                            Respectfully submitted,


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                            Corporation; Justin L. Holbrook, APRN, CNP;
                            and Steven M. Roberts, D.O.




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                              CERTIFICATE OF SERVICE

       I hereby certify that on July 22, 2021, I filed the attached document with the Clerk
of Court. Based on the records currently on file in this case, the Clerk of Court will transmit
a Notice of Electronic Filing to those registered participants of the Electronic Case Filing
System.

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